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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ASHLEY PIERRELOUIS, Individually and           )
On Behalf of All Others Similarly Situated,    )
                                               )            No. 18-cv-04473
                         Plaintiff,            )
         v.                                    )            Hon. Jorge L. Alonso
                                               )
GOGO INC., MICHAEL J. SMALL,                   )
NORMAN SMAGLEY, BARRY ROWAN,                   )
and JOHN WADE,                                 )
                                               )
                         Defendants.           )
                                               )

                                       NOTICE OF MOTION

TO:      Counsel of Record

         PLEASE TAKE NOTICE that on Wednesday, February 12, 2020, at 9:30 a.m., or as

soon thereafter as counsel may be heard, we shall appear before the Honorable Judge Jorge L.

Alonso or any Judge sitting in his stead, in Courtroom 1219 of the Everett McKinley Dirksen

Federal Building, 219 South Dearborn Street, Chicago, Illinois 60604, and shall then and there

present Defendants’ Unopposed Motion for Leave to File Brief in Excess of The Page Limit, a

copy of which was filed electronically and is available through the Court’s system.




030404.0601:28871132.2
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 Dated: February 5, 2020                       Respectfully submitted,

                                               GOGO INC., MICHAEL J. SMALL,
                                               NORMAN SMAGLEY, BARRY ROWAN,
                                               AND JOHN WADE


                                               By: /s/ Andrew G. May
                                                    One of Their Attorneys

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                                               Michael J. Small, Norman Smagley, Barry
                                               Rowan and John Wade




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                                CERTIFICATE OF SERVICE

         The undersigned certifies that he caused a copy of the foregoing Notice of Motion to be

electronically filed using the CM/ECF system, which will send notice of this electronic filing to

all counsel of record receiving electronic notification on February 5, 2020.

                                                             /s/ Andrew G. May
                                                             Andrew G. May




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